     Case: 1:18-cv-07719 Document #: 41 Filed: 03/27/19 Page 1 of 1 PageID #:317



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

Fairly Odd Treasures, LLC                     )
                                              )
v.                                            )       Case No. 1:18-cv- 7719
                                              )
THE PARTNERSHIPS and                          )       Judge: Rebecca R. Pallmeyer
UNINCORPORATED ASSOCIATIONS                   )
IDENTIFIED ON SCHEDULE “A,”                   )       Magistrate: Susan E. Cox
                                              )
                                              )
                                              )


                                       Voluntary Dismissal

        Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Fairly Odd Treasures, voluntarily

dismiss any and all claims against defendants without prejudice:

 Doe        Store Name                       ID Number
   25       Soothfeel                        AT19DLTXZCLY



Dated: March 25, 2019
                                              Respectfully submitted,



                                              By:       s/David Gulbransen/
                                                      David Gulbransen
                                                      Attorney of Record

                                                      David Gulbransen (#6296646)
                                                      Law Office of David Gulbransen
                                                      805 Lake Street, Suite 172
                                                      Oak Park, IL 60302
                                                      (312) 361-0825 p.
                                                      (312) 873-4377 f.
                                                      david@gulbransenlaw.com
